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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA
                              WESTERN DIVISION


 STATE OF KANSAS, STATE OF
 NORTH DAKOTA, et al.,
                                                    Case No. 1:24-cv-150-DMT-CRH
                              Plaintiffs,

               v.

UNITED STATES OF AMERICA, et al.,

                              Defendants.


     JOINT MOTION FOR ENTRY OF AN AMENDED PROTECTIVE ORDER
       Pursuant to Federal Rules of Civil Procedure 5.2 and 26(c) and 5 U.S.C. § 552a(b)(11),

the parties respectfully request that the Court enter an Order approving the attached proposed

Amended Stipulated Protective Order to govern the use and disclosure of the DACA

recipients’ names and addresses that the Court has ordered Defendants to produce to the State

of North Dakota for the purpose of addressing standing and venue arguments in this case.

       On October 29, 2024, the Court entered the parties’ joint stipulation for a Protective

Order. See ECF No. 100. The Protective Order permits individuals employed by the N.D.

Attorney General’s Office, the N.D. Dept. of Transportation, the N.D. Dept. of Public

Instruction, and N.D. public-school districts to access the information for specified purposes.

See id. at ¶ 4.d. It has since come to the State’s attention that due to how relevant databases

are maintained and operated, personnel from the N.D. Information Technology Department

may need to conduct certain record searches on behalf of or in place of the previously

identified State agencies. Consequently, the State seeks an Amended Protective Order that

expressly includes personnel employed by the N.D. Information Technology Department

within the paragraph establishing the persons to whom a disclosure of Covered Information

or Covered Documents may be made (paragraph 4.d). The parties also propose a clarification

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to expressly specify that Covered Documents include both physical and digital documents

(paragraph 2.c). No other substantive amendments to the Protective Order are proposed,

including the provision (in paragraph 4.d) that Counsel for North Dakota shall limit the

number of individuals to whom such information is disclosed to as few as possible required

to carry out the Court’s order.

       Certification pursuant Local Civil Rule 37.1(A): The parties hereby certify that they

conferred in good faith prior to filing this motion and Defendants do not object to the State’s

request for an amended Protective Order.


Dated: October 31, 2024.                   Respectfully submitted,

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